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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 UNITED STATES OF AMERICA


 vs.                                               CASE NO. 8:11-CR-572-T-17-MAP


 OMAR BELALCAZAR GARCIA
 NIBSON FERNEY MANDINGA CAMPAZ
 ALCIVIADES PALACIO MACHADO
 WOOTER BASTIAAN VAN COMMEL DUYZINGS

                                                          /


               ORDER ADOPTING REPORT AND RECOMMENDATION


        This cause is before the Court on the report and recommendation R&R issued by
 Magistrate Mark A. Pizzo, on April 20, 2012 (Docket No. 66). The magistrate judge
 recommends that the Court deny the defendants’ motion to dismiss (Docket No. 45).


        Pursuant to Rule 6.02, Rules of the United States District Court for the Middle District
 of Florida, the parties had ten (10) days after service to file written objections to the proposed
 findings and recommendations, or be barred from attacking the factual findings on appeal.
 Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982) (en banc). To date no objections have
 been filed.


                                   STANDARD OF REVIEW


        When a party makes a timely and specific objection to a finding of fact in the report
 and recommendation, the district court should make a de novo review of the record with
 respect to that factual issue. 28 U.S.C. § 636(b)(1); U.S. v. Raddatz, 447 U.S. 667 (1980);
 Jeffrey S. v. State Board of Education of State of Georgia, 896 f.2d 507 (11th Cir. 1990).
 However, when no timely and specific objections are filed, case law indicates that the court
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 should review the findings using a clearly erroneous standard. Gropp v. United Airlines,
 Inc., 817 F.Supp. 1558, 1562 (M.D. Fla. 1993).


        The Court has reviewed the report and recommendation and made an independent
 review of the record. Upon due consideration, the Court concurs with the report and
 recommendation as follows. Accordingly, it is


        ORDERED that the report and recommendation, dated April 30, 2012, be adopted
 and incorporated by reference and the defendants’ motion to dismiss (Docket No. 45) be
 denied.


        DONE and ORDERED in Chambers, in Tampa, Florida, this 24th day of May, 2012.




 Copies to:
 All parties and counsel of record
 Assigned Magistrate Judge




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